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 1
     [Stipulating parties listed on signature page]
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 8
                                  UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10
                                      SAN FRANCISCO DIVISION
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   IN RE: CATHODE RAY TUBE (CRT)                        MASTER FILE NO. 07-cv-5944 SC
13 ANTITRUST LITIGATION                                 MDL NO. 1917

14                                                      STIPULATION AND [PROPOSED]
                                                        ORDER EXTENDING THE DEADLINE
15 This Document Relates to: ALL INDIRECT               TO FILE A MOTION TO COMPEL
   PURCHASER ACTIONS                                    HITACHI DEFENDANTS TO
16                                                      SUPPLEMENT RESPONSES TO
                                                        INDIRECT PURCHASER PLAINTIFFS’
17                                                      FIRST SET OF INTERROGATORIES

18          This Stipulation and Proposed Order between the Indirect-Purchaser Plaintiffs ( “IPPs”)
19 and Hitachi, Ltd. (“HTL”), Hitachi Displays, Ltd.(“HDP”), Hitachi Asia, Ltd. (“HAS”), Hitachi

20 America, Ltd., and Hitachi Electronic Devices (USA), Inc. (collectively, “Hitachi Defendants”)

21 (together, the “Parties”) is made with respect to the following facts and recitals:

22          WHEREAS, the IPPs and the Hitachi Defendants have met and conferred in order to
23 resolve all outstanding discovery issues with regard to Hitachi’s responses to IPPs’ First Set of

24 Interrogatories (“Interrogatories”);

25          WHEREAS, the Hitachi Defendants have agreed to supplement their responses to
26 Interrogatory No. 6 to identify with greater specificity the publicly available information upon

27 which the Hitachi Defendants intend to rely;

28          WHEREAS, the Hitachi Defendants have agreed to supplement their responses to

     STIPULATION AND [PROPOSED] ORDER EXTENDING THE DEADLINE TO FILE A MOTION TO COMPEL
                                MDL No. 1917; Case No. 07-cv-5944 SC
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 1 Interrogatory No., 7, as it related to their affirmative defenses Nos. 8, 13, 14, 19, 25, 27, 28, 32,

 2 33, 34, 35 and 38 only;

 3          WHEREAS, defendants HTL, HDP and HAS have agreed to supplement their responses to

 4 Interrogatory No. 8;

 5          WHEREAS, defendants HTL and HDP have agreed to supplement their responses to

 6 Interrogatory No. 9;

 7          WHEREAS, the Hitachi Defendants have agreed to supplement their responses to

 8 Interrogatory Nos. 10, 11, 13, 15, 16, 18, 22, 23 and 24;

 9          WHEREAS, the Parties are currently required to file any motion to compel by September

10 12, 2014;

11          WHEREAS, the Hitachi Defendants agree to supplement their responses to the above-

12 described Interrogatories by Friday, September 26, 2014;

13          WHEREAS, the Hitachi Defendants agree to extend the deadline by which the IPPs may

14 file a motion to compel regarding the Hitachi Defendants’ Responses to the above-described

15 Interrogatories to October 3, 2014.

16          IT IS HEREBY STIPLULATED AND AGREED between the undersigned counsel that

17 the IPPs may file a motion to compel regarding the Hitachi Defendants’ supplemental responses to

18 the IPPs’ Interrogatory Nos. 6, 7 (as it related to affirmative defenses Nos. 8, 13, 14, 19, 25, 27,

19 28, 32, 33, 34, 35 and 38), 10, 11, 13, 15, 16, 18, 22, 23 and/or 24; defendants HTL’s, HDP’s and

20 HAS’s supplement their responses to Interrogatory No. 8; and/or defendants HTL’s and HDP’s

21 supplemental responses to Interrogatory No. 9, no later than October 3, 2014.

22          The undersigned Parties jointly and respectfully request that the Court enter this stipulation
                                                                                 ISTRIC
23 as an order.                                                             TES D      TC
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24 PURSUANT TO STIPULATION, IT IS SO ORDERED.
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26 Dated: October 2                        , 2014
                                                                  Hon. Samuel Conti
27                                                                                        Conti
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                                                                  United States eDistrict
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     STIPULATION AND [PROPOSED] ORDER EXTENDING THE DEADLINE N                         F COMPEL
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     Dated: September 12, 2014
 2
                                          TRUMP, ALIOTO, TRUMP & PRESCOTT LLP
 3
                                          _/s/ Lauren C. Capurro__________
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                                          Displays, Ltd., Hitachi Asia, Ltd., Hitachi America,
23
                                          Ltd., and Hitachi Electronic Devices (USA), Inc.
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 1                                       ECF CERTIFICATION

 2         Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
 3 document has been obtained from each of the above signatories.

 4

 5 Dated: September 12, 2014                                  /s/ Jennie Lee Anderson
 6
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